                     Case 2:03-cr-00365-MCE Document 74 Filed 06/28/12 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
           HUISI GONZALES AMAYA
                      (Defendant’s Name)                                  Criminal Number: 2:03CR00365-01


                                                                          Douglas Beevers, Assistant Federal Defender
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charges 1 and 2 on 3/29/2012 as alleged in the violation petition filed on 2/15/2012.
[U] adm itted guilt to violation of charges 1 on 6/21/2012 as alleged in the violation petition filed on 5/17/2012.
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the violation
    petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations:

Violation Number                     Nature of Violation                                     Date Violation Occurred
1                                    New Law Violation (2/15/2012 Petition)                  5/20/2011
2                                    Failure to Report a Change in Residence 10              5/20/2011
                                     Days Prior to the Change (2/15/2012 Petition)
1                                    New Law Violation (5/17/2012 Petition)                  3/18/2012

The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 9/7/2005.

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                 6/21/2012
                                                                 Date of Im position of Sentence




                                                                 Signature of Judicial Officer

                                                                 M ORRISON C. ENGLAND, JR., United States District Judge
                                                                 Nam e & Title of Judicial Officer

                                                                 06/28/2012
                                                                 Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:03CR00365                                                                    Judgment - Page 2 of 2
DEFENDANT:                HUISI GONZALES AMAYA



                                                        IMPRISONMENT
The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a total term
of 8 m onths as to all counts in both petitions concurrently for a total term of 8 m onths and consecutively to case num ber
2:12CR00161.




[]      The court m akes the following recom m endations to the Bureau of Prisons:




[U]     The defendant is rem anded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
